Case 2:22-cv-04665-CAS-JC Document 1 Filed 07/08/22 Page 1 of 6 Page ID #:1
Case 2:22-cv-04665-CAS-JC Document 1 Filed 07/08/22 Page 2 of 6 Page ID #:2
Case 2:22-cv-04665-CAS-JC Document 1 Filed 07/08/22 Page 3 of 6 Page ID #:3
Case 2:22-cv-04665-CAS-JC Document 1 Filed 07/08/22 Page 4 of 6 Page ID #:4
Case 2:22-cv-04665-CAS-JC Document 1 Filed 07/08/22 Page 5 of 6 Page ID #:5
Case 2:22-cv-04665-CAS-JC Document 1 Filed 07/08/22 Page 6 of 6 Page ID #:6
